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 1   0BRUCE LOCKE (#177787)
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 4   Attorneys for TERRY NELSON
 5
 6                            IN THE UNITED STATES DISTRICT COURT
 7                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 8   UNITED STATES OF AMERICA,           )                  No. CR S-06-0461 FCD
                                         )
 9                     Plaintiff,        )
                                         )                  STIPULATION AND ORDER
10                                       )                  CONTINUING THE STATUS
           v.                            )                  CONFERENCE FROM
11                                       )                  FEBRUARY 26, 2007 TO
           TERRY NELSON -01              )                  APRIL 9, 2007 AT 10:00 A.M.
12   VIRGINIA ROMERO - 02                )
                                         )
13                     Defendant.        )
     ____________________________________)
14
            The defendants, Virginia Romero and Terry Nelson, and the United States, by and through
15
     their respective attorneys, hereby stipulate that the status conference currently set for
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     February 26, 2007 should be continued to April 9, 2007 at 10:00 a.m. The reason for the
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     continuance is that the defendants have only recently received the discovery in this case and the
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     defense attorney need the additional time to review the discovery and determine what additional
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     investigation, if any, is needed in order to prepare this case properly.
20
            The defense also requests that the Court exclude the time from the date that this Order is
21
     signed to April 9, 2007 from the Speedy Trial Act calculation pursuant to Local Code T4 for defense
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     preparation. The government agrees that the time should be excluded. Candace Fry, the attorney
23
     for Virginia Romero, and Matthew Segal, the attorney for the United States, have authorized Bruce
24
     Locke to sign this Stipulation and Order for them.
25
26   DATED: February 23, 2007                              /S/ Bruce Locke
                                                    L. BRUCE LOCKE
27                                                  Attorney for TERRY NELSON
28
29                                                     1
              Case 2:06-cr-00461-JAM Document 25 Filed 02/23/07 Page 2 of 2


 1
 2
 3   DATED: February 23, 2007                         /S/ Candace Fry by Bruce Locke
                                                 CANDACE FRY
 4                                               Attorney for VIRGINIA ROMERO
 5
 6   DATED: February 23, 2007                       /S/ Matthew Segal by Bruce Locke
                                                 MATTHEW SEGAL
 7                                               Attorney for the UNITED STATES
 8
 9          The stipulation above is adopted in full. Additionally, the Defendant’s Waiver of
10   Appearance filed February 20, 2007 is accepted.
11          IT IS SO ORDERED.
12
     DATED: February 23, 2007
13
14
15                                     _______________________________________
                                       FRANK C. DAMRELL, JR.
16
                                       UNITED STATES DISTRICT JUDGE
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